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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
DERWIN DALE LIVINGSTON, §
§
Petitioner, §
§
VS. § CIVIL ACTION NO. lH-08-1284
§
NATHANIEL QUARTERMAN, §
§
Respondent. §

MEMORANDUM AND ORDER

The petitioner, Derwin Dale Livingston, seeks habeas corpus relief under 28 U.S.C. § 2254,
challenging his August 2004 state felony convictions for aggravated sexual assault of a child under
the age of 14 and sexual assault of a child. The respondent filed a motion for summary judgment,
(Docket Entry No. 12), With a copy of the state court records. Livingston responded (Docket Entry
Nos. 15 and 20).

Based on careiill consideration of the pleadings, the motion, respon:ses, the record, and the
applicable laW, this court grants the respondent’ s motion and enters final judgment by separate order.
The reasons are explained below.

I. Procedural Background

Livingston Was indicted in four cases in 2003. (Cause Nurnbers 03CR0084, 03CR0085,
03CR0086, and 03CR0087). Two indictments charged sexual assault of a child, and two charged
aggravated sexual assault of a child. All four indictments alleged a prior burglary conviction. A
May 2004 trial ended in a mistrial declared after the jury could not agree on a verdict. (No.
03CR0084, Docket Entry No. 6; No. 03 CR0085, Docket Entry No. 5; No. 03CR0086, Docket Entry

No. 5; No. 03CR0087, Docket Entry No. 5). At a second trial, the jury convicted Livingston on all

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charges alleged in the indictments Livingston pleaded “not true” to the enhancement provisions
On August 13, 2004, the jury found the enhancement paragraphs to be true. The jury sentenced
Livingston to serve four life sentences and pay four $10,000.00 fines. The First Court of Appeals
of Texas affirmed Livingston’s conviction on March 26, 2006. Ll`vz'ngston v. State, Nos. 01-04-
00955-CR, 01-04-00956-CR, 01-04-00957-CR, and 01-04-00958-CR (Tex. App._Houston [lst
Dist.] 2006, pet. ret’d). The Texas Court of Criminal Appeals refused Livingston’s petitions for
discretionary review on February 7, 2007. On December 2l , 2007, Livingston filed applications for
state habeas corpus relief, Which the Texas Court of Criminal Appeals denied on April 16, 2008
Without a hearing or a written order, on the findings of the trial court. Ex parte Livingston,
Application Nos. 69,601-01 at page after cover, 69,601-02 at page after cover, 69,601-03 at page
after cover, and 69,601-4 at page after cover.1

On April 25, 2008, this court received Livingston’s federal petition. Livingston contended
that his convictions are void. The grounds are listed below.2

(l) Trial counsel rendered ineffective assistance by:

(a) failing to call attention to the exculpatory testimony of the alleged child-
victim, C.T., that the sexual devices retrieved from Livingston’s boat
belonged to C.T.’s mother, Rhonda Turner',

(b) failing to call attention to the fact that no Sexual devices Were found on

Livingston’s boat When it Was searched',

 

1 All cites to state Writ transcripts are to the largest volume in each proceeding Each proceeding
has two transcripts, a large one that includes most of the documents from the record, and a small one that is
the petitioner’s “Response to Answer to Application for Post-Conviction Writ of Habeas Corpus.”

2 In this opinion, Livingston’s claims are identified by these numbers

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failing to call attention to testimony about who brought the sexual devices;
failing to call Rhonda Turner as a witness;

failing to call attention to inconsistencies between C.T. ’s testimony about the
first incident of intercourse with Livingston and evidence from a later
physical exam proving that she was a virgin;

failing to move for a juryinstruction about the necessity of scientific evidence
to connect the sexual devices to Livingston;

failing to file a motion to suppress the evidence obtained from the boat, a
tattoo parlor Livingston owned, and his computer;

failing to use evidence of the Victim’s bias based on her interest in land sold
by her grandparents;

agreeing With the prosecutor to use one less strike during jury selection;
failing to object to consolidating the indictments;

failing to object to the admission of nude photographs of C.T.;

“aiding the State” in the redaction and suppression of exculpatory evidence;
failing to subpoena Livingston’s business records;

failing to present a closing argument; and

failing adequately to represent Livingston at the motion for new-trial hearing.

(2) The trial court erred in:

(a)

(b)
(C)

failing to instruct the jury on the importance of scientific evidence to connect
the sexual devices to Livingston;
preventing trial counsel from rendering effective assistance;

failing to remain an unbiased fact-finder;

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(3)

(4)
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(6)
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(d) empaneling a jury in the face of pervasive media coverage;

(e) wrongfully consolidating the indictments without 30 days’ notice;

(t) failing to conduct a competency hearing;

(g) presiding without first taking an oath of office; and

(h) retrying Livingston.

Appellate counsel rendered ineffective assistance by failing to move to strike the

State’s late-filed brief.

The appellate court erred by allowing the State to flle its brief late.

The prosecution committed misconduct by:

(a) presenting false testimony and evidence to the jury behind the trial judge’s
back;

(b) failing to disclose apsychiatric report evidencing Livingston’s incompetence;

(c) suppressing exculpatory evidence by redacting CPS records; and

(d) improperly investigating the alleged crimes.

The conviction was obtained by evidence that should have been excluded at trial.

Livingston’s Sixth Arnendment right to confront the witnesses against him was

violated because Rhonda Turner did not testify.

(Docket Entry No. l, Petition for Writ of Habeas Corpus, pp. 2-2s).

The respondent argues that claim 2(a) is unexhausted and procedurally barred, (Docket Entry

No. 12, Respondent’s Motion for Summary Judgment, p. 8), and that the remaining claims lack

merit. Each claim and argument is examined below.

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II. The Applicable Legal Standards
Livingston’s petition is governed by the Anti-Terrorism and Effective Death Penalty Act of
1996 (AEDPA). Subsections 2254(d)(l) and (2) of AEDPA set out the standards of review for
questions of fact, questions of law, and mixed questions of fact and law that result in an
“adjudication on the merits.” An adjudication on the merits “is a term of art that refers to whether
a court’s disposition of the case is substantive, as opposed to procedural.” Miller v. Johnson, 200
F.3d 274, 281 (Sth Cir. 2000).
AEDPA provides as follows, in pertinent part:
(d) An application for a writ of habeas corpus on behalf of a person
in custody pursuant to the judgment of a State court shall not be
granted with respect to any claim that was adjudicated on the merits
in State court proceedings unless the adjudication of the claim-
(l) resulted in a decision that was contrary to, or involved an
unreasonable application of, clearly established Federal law, as
determined by the Supreme Court of the United States; or
(2) resulted in a decision that was based on an unreasonable
determination of the facts in light of the evidence presented in the
State court proceeding
(e)( l) In a proceeding instituted by an application for a writ ofhabeas
corpus by a person in custody pursuant to the judgment of a State
court, a determination of a factual issue made by a State court shall
be presumed to be correct. The applicant shall have the burden of
rebutting the presumption of correctness by clear and convincing
evidence.
A state-court determination of questions of law and mixed questions of law and fact is
reviewed under 28 U.S.C. § 2254(d)(l) and receives deference unless it “was contrary to, or involved
an unreasonable application of clearly established Federal law, as determined by the Supreme Court

of the United States.” Hill v. Johnson, 210 F.3d 481, 485 (Sth Cir. 2000). A_ state-court decision is

“contrary to” Supreme Court precedent if : (l) the state court’s conclusion is “opposite to that reached

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by [the Supreme Court] on a question of law” or (2) the “state court confronts facts that are
materially indistinguishable from a relevant Supreme Court precedent” and arrives at an opposite
result. Williams v. Taylor, 529 U.S. 362 (2000). A state court unreasonably applies Supreme Court
precedent if: (1) it unreasonably applies the correct legal rule to the facts of a particular case; or (2)
it “unreasonably extends a legal principle from [Supreme Court] precedent to a new context where
is should not apply or unreasonably refuses to extend that principle to a new context where it should
apply.” Id. at 1495 . In deciding whether a state court’s application was unreasonable, this court
considers whether the application was “obj ectively unreasonable.” Id. at 1495; Penrjy v. Johnson,
215 F.3d 504, 508 (5th Cir. 2000). Questions of fact found by the state court are “presumed to be
correct . . . and [receive] deference . . . unless it ‘was based on an unreasonable determination of the
facts in light of the evidence presented in the State court proceeding ”’Hill, 210 F.3d at 485 (quoting
28 U.S.C. § 2254(d)(2)).

While, “[a]s a general principle, Rule 56 of the Federal Rules of Civil Procedure, relating to
summary j udgment, applies with equal force in the context of habeas corpus cases,” Clark v.
Johnson, 202 F.3d 760, 764 (5th Cir. 2000), cent denied, 531 U.S. 831(2000), the rule applies only
to the extent that it does not conflict with the habeas rules. Section 2254(e)(1)~»which mandates
that findings of fact made by a state court are “presumed to be correct”_overrides the ordinary rule
that, in a summary judgment proceeding, all disputed facts must be construed in the light most
favorable to the nonmoving party. Unless the petitioner can “rebut [ ] the presumption of correctness
by clear and convincing evidence” as to the state court’s findings of fact, those findings must be
accepted as correct. Smith v. Cockrell, 311 F.3d 661, 668 (5th Cir. 2002).

Livingston is proceeding pro se. A pro se habeas petition is construed liberally and is not

held to the same standards as pleadings filed by lawyers. See Martz`n v. Maxey, 98 F.3d 844 n.4 (5th

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Cir. 1996); Guz'droz v. Lynaugh, 852 F.2d 832, 834 (5th Cir. 1988); Woodall v. Foti, 648 F.2d 268,
27 l (5th Cir. Unit A June 1981). This court broadly interprets Livingston’ s state and federal habeas
petitions. Bledsue v. Johnson, 188 F.3d 250, 255 (5th Cir. 1999).
III. Factual Background

The state-court record provides the factual background Michelle Parsons, a sexual-abuse
investigator with the State of Texas Department of Family Protective Services, testified that on
December 27, 2002, she initiated an investigation into the alleged sexual abuse of C.T., a minor.
(Reporter’s Record, Vol. lll, p. 10). Parsons had received information that C\,T. was living on aboat
with her father, Derwin Livingston. (Id.) After visiting several marinas in Galveston County,
Parsons eventually located the boat in a marina in Clear Lake Shores. ([d.]l Officer Nolan of the
Kemah Police Department accompanied Parsons to the marina, where they were joined by Chief
Shelly of the Clear Lake Shores Police Departrnent. Cd. at l 1, 19). After locating Livingston’s boat,
Parsons knocked and heard movement inside. (Id. at 12). C.T. opened the cabin door, and Parsons
identified herself (Ia'.) Parsons testified that C.T. looked like she had just woken up. (Id. at 18).
C.T. closed the door and went back inside, and Livingston carne to the door, (Id. at 13). Parsons
identified herself again and asked to speak With C.T. (Id. at 18). C.T. stepped out of the boat and
onto the dock to speak with Parsons. (Id. at 19). Parsons testified that C.T. was visibly upset and
shaking C.T. denied any sexual abuse. (Ia’.)

Parsons got permission from Livingston to board the boat to investigate the living conditions
(Ia'. at 20). Parsons testified that the boat’ s interior was messy and dirty and smelled like “cigarettes,
stale beer, and like sweaty sex.” Both Livingston and C.T. were malodorous. (Id. at 22). Parsons
noticed a laptop computer in the cabin. Livingston turned the computer on iri response to Parsons’s
request. She found an image of a naked girl, approximately nine years old.

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Parsons left the boat and told Livingston that C.T. would need to stay somewhere else. (Ia’.)
Livingston said he Would make arrangements for C.T. to stay with her adult half-sister, Heather
O’Dell. (Id.) Chief Shelly drove Parsons and C.T. back to the Clear Lake Shores Police Department
to wait for Heather O’Dell to arrive. (Ia'. at 23).

O’Dell arrived with Rhonda Turner, the mother of both C.T. and Heather O’Dell. (Id. at 24).
O’Dell agreed to take C.T. with her and to make sure she had no contact with Livingston. ( Ia’.)
O’Dell drove to Illinois, where C.T. stayed With her maternal grandparents, lack and Mary Turner.
(Id. at 78).

While C.T. was in Illinois, Parsons kept in contact with her. C.T. eventually told her that the
allegations about her father were true. (Ia'. at 42, 108). Parsons set up a physical exam for C.T. and
contacted the Illinois State Police to take a statement from the child. (Id.) ln C.T.’s statement, she
talked about sexual devices on the boat. Chief Shelly obtained a Warrant, searched Livingston’s
boat, and retrieved two sexual devices from the boat. (Id. at 54).

After Livingston was arrested, he contacted another of his daughters, Dana Livingston. (Id.
at 122). Livingston asked Dana Livingston to send an email from C.T.’s email account, saying that
C.T. Was sorry for making up the allegations of sexual abuse against her father (Id.) Livingston also
asked Dana to retrieve a black bag of sexual devices from the boat and get rid of it. (Id. at 123-24).
Dana Livingston retrieved the bag and took it to the police. (Id.) Dana L:ivingston testified that
Rhonda Turner may have accompanied her when she took the bag to the police station. (Ia'. at 124).
Dana Livingston also testified that her father asked her to make anonymous calls to the child
protective services agency in lllinois, hoping that multiple allegations of abuse would help his case

by making C.T. seem less credible. (Id. at 130). Captain Cranston of the Clear Lake Shores Police

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Department testified that Dana Livingston brought the bag of sexual devices the police station. (Ia'.
at 70).

At trial, C.T. testified that when she was ten or eleven years old, an intoxicated Livingston
told her that he wanted to show her “how he kissed people his own age.” (Id. at 93). After that
incident, his conduct escalated to oral sex and sexual intercourse. (Id.) C.T. was twelve years old
when she first had intercourse with Livingston. (Id.) C.T. stated that at first intercourse did not
happen very often because she was not physically mature, but that ultimately it occurred over 100
times. (Ia’. at 95). C.T. testified that when she told Livingston she did not want to have intercourse,
he would tell her that he felt rejected and that she did not love him. (Id.) C.T. Would give in because
she wanted to prove that she loved him. (Id.)

C.T. identified several nude photographs of herself that she testified were taken by
Livingston. (Ia’. at 101). She also identified at least seven sexual devices that were taken from the
bag Dana Livingston recovered from the boat. C.T. stated that her father used them to “stretch her
out,” so he could have intercourse with her. (Id. at 103-08).

Dr. James Lukefahr, a doctor at the University of Texas Medical Branch in Galveston,
testified based on reviewing the report of the Illinois doctor who examined C.T. (Reporter’ s Record,
Vol. IV, p. 10). Dr. Lukefahr testified that the physical examination results Were consistent with
C.T.’s allegations (Id. at 11). Dr. Lukefahr testified that the results showed that C.T.’s vagina had
been penetrated by an adult penis or some other object and it was unlikely that the other object was
a tampon or a finger. (Id. at 27-28).

Livingston testified on his own behalf He stated that C.T. came to live with him when she
was in the sixth grade. (Id. at 46). Livingston eventually removed C.T. from school and began

home-schooling her. (Id. at 47). He testified that C.T. initiated investigations by Child Protective

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Services as “entertainrnent” and that she could cry “on cue.” (Id. at 50, 54). Livingston testified
about several prior CPS investigations (Id.) One involved allegations that C.T.’s younger mentally
retarded brother had sexually molested her. Another involved allegations of an incident between
C.T. and a high-school student underneath the bleachers at school. (Id. at 50-52). Livingston also
testified that When C.T. was in sixth or seventh grade, she complained that her stepbrother, Rusty,
had been inappropriate (Id. at 54). Finally, Livingston testified about an allegation by C.T. that
Livingston’s son had touched her inappropriately. (Id. at 55). Because Livingston and his son had
similar names, CPS initially thought that C.T. was referring to Livingston. The misunderstanding
was later cleared up. (Id.) Livingston testified that When CPS asked whether he would like the
incident removed from his file, he said no because he wanted to use it as proof that his daughter
needed psychiatric help. (Id. at 5 6). Livingston claimed that as a result of the allegation against his
son, C.T. had a physical examination sometime in 2002, which showed that she was still a virgin.
(Id. at 58).

Livingston denied ever having seen the nude photographs of C.T. found on his computer.
(Id. at 90). He testified that his whole family had access to the computer, and that the picture of the
nude girl Parsons found was actually an 18 to 20 year-old picture of Heather O’Dell, not C.T. (Id.
at 66, 90).

On rebuttal, the State called Kimberly Moore, a bartender at a pool hall. (Id. at 123). Moore
testified that Livingston would often bring C.T. to the pool hall during the day. (Ia'.) On one
occasion, Livingston brought his laptop inside to show Moore some pictures. (Ia’. at 124). They
included several nude photos of C.T. sitting on the couch and in the bathroom. (Id. at 125). On
redirect, Livingston admitted to having seen the pictures Moore identified, but said that he looked

away When they came on the screen. (Id. at 129).

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During the punishment phase of the trial, Heather O’Dell testified that Livingston had
performed oral sex on her when she was nine years old, and that he began having intercourse With
her When she was ten. (Reporter’s Record, Vol. V, p. 55). O’Dell testified that this occurred
“countless times” until she moved to Illinois When she was 12. (Id.) O’Dell also testified that she
was involved in the manufacture of crystal methamphetamine with Livingston and her mother when
she was 10 years old. (Ia’. at 59). She testified that she Would help set up the lab, beakers, and test
tubes and that she would stir the chemicals (Id. at 63).

On rebuttal, Livingston testified that he knew Rhonda Turner was manufacturing crystal
methamphetamine, but that he was not involved. (Id. at 7 6). He also testified that Heather O’Dell
blamed him for her husband’s arrest and told him that she would get even with him. (Id. at 81).
Additionally, he introduced evidence indicating that Heather O’Dell gained financially from his
arrest since she took control of his tattoo shop after he was incarcerated (Ia’. at 80).

IV. The Issue of Exhaustion

The respondent argues that claim 2(a) is unexhausted and procedurallybarred. (Docket Entry
No. 12, Respondent’s Motion for Summary Judgment, pp. 8-11). Claim 2(a) alleges that the trial
court wrongfully failed to instruct the jury on the importance of scientifically testing the sexual
devices This claim was not raised in Livingston’s state habeas proceeding

A state prisoner must exhaust available state court remedies before he can obtain federal
habeas corpus relief, unless the state corrective process is ineffective to protect the prisoner’ s rights
28 U.S.C. § 2254(b) & (c); see Satterwhl`te v. Lynaugh, 886 F.2d 90, 92 (5th Cir. 1989). To exhaust,
a petitioner must “fairly present” all of his claims to the state courts Picard v. Connor, 404 U.S. 270
(1981). The claim must be presented to and ruled on by the highest state court, which in Texas is

the Court of Criminal Appeals Richardson v. Procunier, 762 F.2d 429 (5th Cir. 1985). This may

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be accomplished by filing a habeas corpus petition in the trial court under Ar|;icle l 1.07 of the Texas
Code of Criminal Procedure, and then appealing an adverse result to the Texas Court of Criminal
Appeals A federal habeas petitioner fails to exhaust his state remedies when he relies on a different
legal theory than he did in the state courts or when he makes the same legal claim to the federal court
but supports that claim with new factual allegations not raised in the state courts Dispensa v.
Lynaugh, 847 F.2d 211, 217 (5th Cir. 1987); Knox v. Butler, 884 F.2d 849, 852 n.7 (5th Cir. 1989),
cert. denied, 494 U.S. 1088 (1990).

The exhaustion requirement is “an accommodation of our federal system designed to give
the State an initial ‘opportunity to pass upon and correct’ alleged violations of its prisoners’ federal
rights.” Picard v. Connor, 404 U.S. 270, 275 (1971) (citing Wilwora'z`ng v. Swenson, 404 U.S. 249,
250 (1971)). There is no formal requirement as to the way in which the claims are presented to the
state courts A petitioner need not cite correct or controlling case law. Id. But the petitioner must
present the substance of the federal habeas claim to the state court first. Ia'.

In Livingston’s state-court habeas application, he alleged that his trial counsel failed to
request a jury or scientific testing of the sexual devices Livingston did not argue that the trial court
erroneously failed to give such an instruction. (Ex parte Livingston, Application No. 69,601-01, at
9). The trial-court-error claim is unexhausted, and the respondent is entitled to summary judgrnent.
lt should be noted, however, that the claim of ineffective assistance based on the failure to request
this instruction is analyzed below, and that the analysis shows no basis for ruling on this claim.
V. The Claims of Ineffective Assistance of Trial Counsel

Livingston alleges that his trial counsel rendered ineffective assistance, asserting fifteen areas

of deficiency. Each is analyzed below.

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A. The Legal Standard for Inef`f`ective Assistance Claims

To prevail on a claim of ineffective assistance of counsel, a petitioner must show that his
counsel’s actions fell below an objective standard of reasonableness and petitioner suffered prejudice
as a result. Strickland v. Washington, 466 U.S. 668, 688 (1984). The district court may dispose of
a claim if counsel either rendered reasonably effective assistance or if no prejudice can be shown.
A court evaluating a claim of ineffective assistance need not address the reasonableness component
first. If a petitioner fails to make one of the required showings, the court need not address the other.
Strickland, 466 U.S. at 697.

ln assessing the reasonableness of counsel’s performance, the court must indulge a strong
presumption that the performance falls within the “wide range of reasonable professional assistance”
and that “the challenged action might be considered sound trial strategy.” Slrickland, 466 U.S. at
689; Gray v. Lynn, 6 F.3d 265, 268 (5th Cir. 1993). If counsel’s action is based on well-informed
strategic decisions, it is “well within the range of practical choices not to be second-guessed.”
Rector v. Johnson, 120 F.3d 551, 564 (1997) (quoting Wilkerson v. Collins, 950 F.2d 1054, 1065
(5th Cir. 1992), cert. denied, 509 U.S. 921 (1993)). ln assessing a claim that counsel’s action caused
the convicted defendant prejudice, the issue is whether the defendant has shown “a reasonable
probability that, but for counsel’ s unprofessional errors, the result of the proceeding would have been
different.” Ransom v. Johnson, 126 F.3d 716, 721 (5th Cir.), cert. denied, 522 U.S. 944 (1997).

B. The Claims that Trial Counsel Failed to Call At:tention to Allegedly
Exculpatory Evidence

Claims l(a), l(b), l(c), and l(e) all allege that Livingston’s trial counsel failed to call

attention to exculpatory evidence (Docket Entry No. 1, Petition for Writ of l_`-Iabeas Corpus, pp. 2a-

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2c). These claims are not supported by the record lnstead, the record shows that all the evidence
cited by Livingston was in fact brought out at trial.

First, Livingston argues that trial counsel failed to bring attention to C .T. ’s testimony that the
sexual devices retrieved from Livingston’ s boat belonged to C.T. ’ s mother, Rhonda Turner. But the
record shows that during C.T.’s direct examination, she stated several times that her mother had
bought the sexual devices in Las Vegas or that she owned the devices (Reporter’s Record, Volume
lll, p. 106-07). The evidence that the sexual devices belonged to Turner, not Livingston, was before
the jury. Moreover, who owned the sexual devices was irrelevant to the issue of whether Livingston
used the sexual devices on C.T. Defense counsel was not deficient in failing to bring additional
attention to the evidence that the sexual devices found on Livingston’s boat were owned by Rhonda
Turner.

Livingston also argues that his trial counsel failed to bring attention to the fact that no sexual
devices were found on the boat when it was searched lt is not unreasonable for trial counsel to fail
to emphasize an assertion contradicted by the record The record showed that two of the sexual
devices were recovered when the police searched the boat under the warrant. (Id. at 54-5). The rest
of the devices were delivered to police by Rhonda Turner and Dana Livingston. (Ia'. at 124). Other
evidence clearly connected all the sexual devices to Livingston. The fact that trial counsel did not
focus on where the devices were found was neither deficient nor prejudicial

Livingston argues that his trial counsel should have brought attention to the testimony of
Captain Cranston of the Clear Lake Shores Police Department that Dana Livingston brought the bag
of sexual devices to the station. Livingston asserts that this testimony was inconsistent with Dana
Livingston’s testimony that she and Rhonda Turner went to the police station together and it could

have been either one of them that gave the bag to Captain Cranston. »([d. at 70, 124). The

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inconsistency was before the j ury. lt was not unreasonable for trial counsel to avoid focusing more
on this inconsistency, which was on a collateral matter. Whether Dana Livingston, Rhonda Turner,
or both actually delivered the bag of sexual devices is irrelevant when the evidence overwhelmingly
linked Livingston to those devices

Livingston argues that his trial counsel failed to bring attention to the inconsistency between
C.T. ’s testimony about the first instance of intercourse with Livingston and his own testimony about
the 2002 physical examination in which it was determined that C.T. was still a virgin. Livingston
claims that this evidence was important because the physical examination followed the alleged first
instance of intercourse (Id. at 93; Reporter’s Record, Volume IV, p. 58). This inconsistency was
clearly before the jury. lt was brought out in the testimony of both C.T. and Livingston. (Id.) The
record does not show that trial counsel failed to bring attention to this inconsistency

ln sum, Livingston’s assertions of ineffective assistance in trial counsel’s failure to call
attention to certain evidence is not supported by the record

C. The Claim that Trial Counsel Failed to Call Rhonda Turner as a Witness

In claim l(d), Livingston argues that his trial counsel was unreasonable in failing to call
Rhonda Turner, C.T.’s mother, as a witness during trial. (Docket Entry No. 1, Petition for Writ of
Habeas Corpus, p. 20). Decisions on the presentation of witnesses are essentially strategic.
Complaints of uncalled witnesses are not favored because the presentation of witnesses is a matter
of trial strategy. Wilkerson v. Cain, 223 F.3d 886, 892-93 (5th Cir. 2000). To demonstrate the
prej udice, a petitioner must show not only that the witness would have testified at trial, but also that
this testimony would have been favorable Alexander v. McCotter, 775 F.2d 595, 602 (5th Cir.
1985). Failing to ca11 a witness Whose testimony may have done more harm than good is not

unreasonable Lavernia v. Lynaugh, 845 F.2d 493, 498 (5th Cir. 1988).

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Livingston argues that Rhonda Turner should have been called as a defense witness so that
she could testify about the ownership of the sexual devices recovered from the boat. (Docket Entry
No. 1, Petition for Writ of Habeas Corpus, p. 2c). As noted above, who owned the devices was
already before the jury, and the issue was not who originally acquired or owned the devices, but
whether Livingston had used them. There was ample evidence linking the possession and use of the
sexual devices to Livingston. Moreover, it is likely that Rhonda Turner would have done more harm
to Livingston than good as a witness There was testimony that Rhonda Turner cooperated with
Dana Livingston by helping deliver the sexual devices to the police department (Reporter’ s Record,
Volume lll, pp. 70, 124). Moreover, Livingston has not provided an affidavit from Rhonda Turner.
Courts have “viewed with great caution claims of ineffective assistance of counsel when the only
evidence of a missing witness’s testimony is from the defendant.” U.S. v. Cockrell, 720 F.2d 1423,
1427 (5th Cir. 1983). Finally, Livingston testified that Rhonda Turner was incarcerated in Illinois
at the time of his trial. lt is unclear that she would have been able to testify.

The record provides no support for the claim that defense counsel’s failure to call Rhonda
Turner as a witness at trial Was either deficient or prejudicial The respondent is entitled to summary

judgment on this claim.

D. The Claim That Trial Counsel Failed to Move for a Jury I:nstruction Regarding
the Necessity of Scientific Evidence

ln claim l(f), Livingston asserts that his trial counsel was ineffective in failing to ask for a
jury instruction on the importance of scientific testing of the sexual devices (Docket Entry No. l,
Petition for Writ of Habeas Corpus, p. 2c). During direct and cross-examination, Chief Shelley of
the Clear Lake Shores Police Department was asked if he had conducted any scientific testing on the

sexual devices found on Livingston’s boat. (Reporter’s Record, Volume Ill, pp. 56, 62). He

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responded that he did not. (Ia'.) The record is clear that there Was no scientific testing done on the
devices The jury was aware of that uncontested fact. Livingston has not provided the court with
any proposed jury instruction Livingston has not provided, and this court has not found, any legal
authority supporting the argument that such an instruction was required Trial counsel’s performance
in this regard was reasonable The respondent is entitled to summary judgment on this claim.

E. The Claim That Trial Counsel Failed to File a Motion to Suppress

In claim l(g), Livingston argues that his trial counsel was deficient in not filing a motion

to suppress the evidence seized from the boat, his tattoo shop, and his laptop computer. (Docket
Entry No. l, Petition for Writ of Habeas Corpus, pp. 2e, 2g). The record shows that a motion to
suppress, if made, would have been denied Counsel cannot be deficient in failing to file a motion
that would have been futile

The first search of Livingston’s boat was with his consent. This is confirmed by the
testimony of Parsons, Chief Shelly, and Livingston himself (Reporter’ s Record, Vol. lll, pp. 20, 22,
51; Vol. IV, p. 62). During that search, Livingston also gave permission for Parsons to look at his
computer and opened it for her. (Id.) A warrantless search with consent voluntarily given is valid
under the Fourth Amendment. Georgia v. Randolph, 547 U.S. 103, 109 (2006); Schneckloth v.
Bustamonte, 412 U.S. 218 (1973). Livingston’s tattoo shop was also searched with his consent.
(Reporter’s Record, Vol. lll, p. 58', Vol. IV, pp. 67-69). An additional computer was seized from
the tattoo shop. (Id.) Again, Livingston’s consent defeats any claim of unreasonable search and
seizure under the Fourth Amendment.

The second search of Livingston’s boat, during which Chief Shelly recovered two sexual
devices, was pursuant to a warrant. (Reporter’s Record, Vol. lll, p. 54). The warrant was issued
after C.T. gave a statement to the Illinois State Police in which she mentioned the presence of the

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sexual devices on the boat and stated that Livingston had used the devices on her. ( Id.) Chief
Shelley’ s reliance on the statement and the warrant were objectively reasonable Evidence obtained
by law-enforcement officials acting in obj ectively reasonable good-faith reliance on a search warrant
is admissible United States v. Gz`bbs, 421 F.3d 352, 355 (5th Cir. 2005); United States v. Davis, 226
F.3d 346, 350-51 (5th Cir. 2000). The seizure of the devices from the boat did not violate the Fourth
Amendment.

The record does not support any claim of a Fourth Amendment violation. Any motion to
suppress would have been denied Defense counsel was not deficient, and caused no prej udice, in
failing to file such a motion. Green v. Johnson, 160 F.3d 1029, 1036-37 (5th Cir. 1998), cert.
denied, 525 U.S. 1174 (1999) (citing Sones v. Hargett, 61 F.3d 410, 415 (5th Cir. 1995)); Koch v.
Puckett, 907 F.2d 524, 527 (5th Cir. 1990). The respondent is entitled to summary judgment on this
claim.

F. The Claim That Trial Counsel Failed to Use Evidence to Impeach C.T.

ln claim l(h), Livingston argues that his trial counsel was ineffective in failing to present
certain evidence to impeach C.T. Livingston states:

[Trial counsel] deliberately avoided the subject that was put forth; he

avoided asking alleged victim about the 20 acres of land given to her

at birth by Mr. Livingston, that her grandparents illegally sold during

the time they had her in their care and custody, that which would have

presented a reasonable hypothesis other than guilt of the accused
(Docket Entry No. 1, Petition for Writ of Habeas Corpus, p. 2h). lt is unclear how evidence of a
previous gift of land could be used to impeach C.T.; such evidence does not call into question her
credibility or version of the facts lt was reasonable for trial counsel to avoid a line of questioning
that would not impeach the witness and may well have confused the jury, Moreover, trial counsel

did impeach C.T. by eliciting testimony that she was a virgin at some time after the first alleged

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sexual assault by her father. (Reporter’s Record, Vol. lll, pp. 115-16, 119-20). Trial counsel also
elicited testimony that C.T. failed to identify a piercing on Livingston’s penis Livingston has not
shown that his counsel’s choice was either deficient or prejudicial The respondent is entitled to
summary judgment on this claim.

G. The Claim That Trial Counsel Agreed to Use One Less Strike During Jury
Selection

During jury selection, a large portion of the panel was struck for cause (Reporter’s Record,
Vol. ll, 76). Too few remained to allow ten strikes per side The parties agreed to use nine strikes
each to move forward with jury selection and trial. (Id. at 77-78). In claim 1 (i), Livingston claims
that defense counsel’s failure to ask for a new jury panel was ineffective assistance (Docket Entry
No. l, Petition for Writ of Habeas Corpus, p. 2i).

Trial counsel provided an affidavit to the state habeas court. ln the affidavit, counsel stated
that Livingston agreed to waive one strike so that they could proceed ( Ex parte Livingston,
Application No. 69,601-01 at 1 10). The record is consistent The state habeas court found that the
statements contained in trial counsel’s affidavit were true (Reporter’s Record, Vol. ll, 76-78; Ex
parte Livingston, Application No. 69,601-01 at 107). Livingston has presented no evidence to rebut
this presumptively correct finding The record shows that Livingston agreed to waive the additional
jury strike There is no basis to find that trial counsel was deficient in failing to demand a new jury
panel. See United States v. Gray, 626 F.2d 494, 501 (5th Cir. 1980) (finding that a defendant cannot
subsequently complain of a jury instruction that he requested).

Nor does the record show that trial counsel’s approach was prejudicial. lf trial counsel had
insisted on a new panel, a different jury would have been chosen, but the sam e evidence Would have

been presented There is no indication that the jury in Livingston’ s trial was more biased against him

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than a subsequent jury would have been. Livingston has not shown ineffective assistance on the
basis of the waived jury strike The respondent is entitled to summary judgment on this claim.

H. The Claim That Trial Counsel Failed to Object to Consolidation

ln claim lj, Livingston argues that defense counsel should not have consented to a
consolidation of the four indictments (Docket Entry No. 1, Petition for Writ of Habeas Corpus, p.
2j). Livingston does not state the grounds on which counsel could have objected to the consolidation
or how he was prejudiced The allegation is conclusory, unsupported, and provides no basis for
federal habeas relief, Ross v. Estelle, 694 F.2d 1008, 1012 (5th Cir. 1983).

The record also shows that if counsel had objected to the consolidation, such an objection
would have been overruled Under Texas law, the State may consolidate charges with 30 days’
written notice when the “offenses are the repeated commission of the same or similar offenses.”
TEX. PENAL CODE §§ 3.01-3.02. The indictments had been consolidated before the first trial. There
is no question that Livingston had ample notice of the consolidation before his second trial. (Clerk’s
Record, No. 08CR0084, p. 89; No. 08CR0085, p. 39; No. 08CR0086, p. 39; No. 08CR0087, p. 39).
A defendant is not entitled to a severance of charges that are consolidated under section 3.02 when
the consolidated charges are for sexual assault of a minor. See TEX. PENAL CODE §§ 3.03(b), 3.04.
While a trial court may allow a severance if it determines that the defendant would be unfairly
prejudiced by j oinder, there is no basis to find such prejudice in this case Ia". See Darling v. State,
262 S.W.3d 920, 926 (Tex. App.~Texarkana 2008, pet. ref’d) (finding prejudice where the offenses
involved different manners of commission, different degrees of severity, and different victims);
Wheat v. State 196 S.W.3d 350, 353 (Tex. App.-Waco 2006, pet. ref’d.) (finding prejudice where
the defendant plead guilty to one of the counts before the same jury which would hear the other
counts). Because a motion to sever would likely have been denied, defense counsel was not

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deficient, and caused no prejudice, in failing to object to consolidation Koch v. Puckett, 907 at 527.
The respondent is entitled to summary judgment on this claim.

I. The Claim That Trial Counsel Failed to Object to the Admission of Photographs
of C.T.

ln claim 1(k), Livingston asserts that trial counsel was deficient in failing to object to the
admission of nude photographs of the victim, C.T. (Docket Entry No. 1, Petition for Writ of Habeas
Corpus, p. 2n). Livingston argues that trial counsel should have objected on the ground that the
Secret Service agent who identified the photos in the first trial was not present to identify the
photographs in the second trial. (]d.) But there was no legal requirement for such testimony in either
trial. Under Texas law, a photograph is generally admissible if verbal testimony about the matters
depicted in the photograph is also admissible Paredes v. State, 129 S.W.3d 530, 540 (Tex‘ Crim.
App. 2004). The nude photographs were admitted after C.T. identified the photographs as pictures
of herself taken by Livingston. (Reporter’s Record, Vol. lll, p. 98). Her testimony was admissible
and sufficient to authenticate the photographs TEX. R. EvID. 901 . There was no need for additional
authentication evidence

Texas Rule of Evidence 403 allows the exclusion of otherwise admissible evidence if its
probative value is outweighed by the danger of unfair prejudice but it is unlikely that the trial court
would have been sympathetic to such an argument given the close relationship between the crimes
alleged and the content of the photographs Because there was no reasonable basis for counsel to
object to the admission of the photographs it was not deficient to fail to do so. The respondent is
entitled to summary judgment on this claim.

J. The Claim That Trial Counsel Aided the State in Redaction of Exculpatory
Evidence

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During trial, C.T.’s CPS file and medical records were admitted (Reporter’s Record, Vol.
Vll, State’s Exhibit 25). ln claim l(l), Livingston argues that his counsel was deficient when he
allowed the State to redact certain portions of those records (Docket Entry No. 1, Petition for Writ
of Habeas Corpus, p. 2p). Livingston claims that the redacted portion was exculpatory because it
included information provided by C.T. that made her seem unreliable (Id.) ]_n the affidavit defense
counsel filed with the state habeas court, he stated that the redaction was required by state law. (Ex
parte Livingston, Application No. 69,601-01 at 86). This is consistent with the trial court record,
which contains defense counsel’s explanation to the trial court of the reason for the redaction.
(Reporter’s Record, Vol. lV, p. 9). The trial court found the statement to be true, and the state
habeas court credited this finding (Id. at 107 , page after cover). Livings.ton has not presented
contrary evidence lt was not deficient for defense counsel to fail to object to the redaction of the
materials Nor has Livingston presented any basis to conclude that the failure to object to the
redaction was prejudicial. Accordingly, the respondent is entitled to summary judgment on this

claim.

K. The Claim That Trial Counsel Failed to Subpoena Livingston’s Business
Records

ln claim l(m), Livingston argues that his trial counsel was deficient in failing to subpoena
business records from the tattoo business (Docket Entry No. l, Petition for Writ of Habeas Corpus,
p. 2q). Livingston claims that counsel could have used this information to impeach Heather O’Dell,
who financially benefitted from Livingston’s incarceration because she took over management of
the tattoo business (Id.)

O’Dell testified in both the guilt-innocence and the punishment phase of Livingston’s trial.

During the guilt-innocence phase, trial counsel did not question O’Dell about her financial interest

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in the tattoo shop. (Reporter’ s Record, Vol. lll, pp. 71 -84). However, there was no need to impeach
O’Dell at that time because she did not say anything harmful to Livingston or anything that could
establish an element of the alleged crimes (Id.) Her testimony was confined to a description of her
relationship with Livingston and C.T. and an account of the day she picked C.T. up from the police
station and used Livingston’s car to drive her to lllinois. (Ia'.) lt was sound trial strategy for defense
counsel to refrain from trying to impeach a witness who gave no harmful testimony.

During the punishment phase, Heather O’Dell testified again. (Reporter’s Record, Vol. V,
pp. 53-75). Her testimony during this phase was damaging She testified about her experience as
a child victim of Livingston’s sexual abuse and her involvement with Livingston’s
methamphetamine manufacturing operation. (Id. at 53-61). During the punishment phase, defense
counsel did impeach Heather O’Dell by eliciting testimony from her that she benefitted financially
from running Livingston’s tattoo operations while he was incarcerated and that she blamed
Livingston for his role in having her husband’s parole revoked (Id. at 67--75). Because Heather
O’Dell admitted her financial interest, having the records was not necessary to impeach her
testimony and would have been cumulative Livingston has not shown either deficient performance
by counsel or prejudice The respondent is entitled to summary judgment on this claim.

L. The Claim That Trial Counsel Failed to Present a Closinig Argument

ln claim l(n), Livingston argues that his trial counsel’s closing argument “argued nothing,
thereby cheating defendant out of a closing argument.” (Docket Entry No. 1, Petition for Writ of
Habeas Corpus, p. 2r). The record contradicts this claim. ln examining counsel’s closing argument
against an ineffective-assistance allegation, a court considers the argument in its entirety. Carter v.
Johnson, 131 F.3d 452, 446 (5th Cir.1997). ln the closing argument, defense counsel fully laid the
theory of defense (Reporter’s Record, Vol V, pp. 8-29). Defense counsel methodically reviewed

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the testimony of every government witness and focused on numerous inconsistencies and possible

motivations to lie Defense counsel pointed out the following aspects of the evidence:

(1)

(2)
(3)
(4)

(5)

(6)

(7)

(8)

(9)

(10)

(11)

(12)

(13)

(14)

Parsons immediately answered questions posed by the State but wavered when
answering questions on cross-examination;

Parsons admitted that Livingston was cooperative when she showed up at his boat;
C.T. initially denied the allegations against Livingston;

CPS closed several cases that had been initiated against Livingston for lack of
evidence;

Chief Shelley did not call the district attorney’s office when he saw the first
photograph on Livingston’s computer;

the investigating agencies failed to do any scientific testing on any of the evidence;
Livingston cooperated in letting Heather O’Dell use his car to get to lllinois;

C.T. wanted to move back in with her grandparents providing a motive to make false
accusations;

C.T. was uncertain about when the first incident of alleged sexual intercourse
occurred;

C.T. failed to mention Livingston’s penis-piercing;

Dana Livingston had maintained a good relationship with her father;

Dr. Lukefahr did not personally examine C.T.;

Livingston cooperated in the CPS investigation into C.T.’s report about the boy at
C.T.’S school; and

there was evidence of a 2002 examination showing that C.T. was a virgin, after the

first alleged assault.

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The closing argument as a whole was thorough and vigorous lt highlighted weaknesses in the
State’s case and strengths of the defense case Defense counsel’s argument was reasonable and
Livingston has not shown prej udice. The respondent is entitled to summary judgment on this claim.

M. The Claim That Trial Counsel Failed to Adequately Reprcsent the Petitioner at
the Motion for New Trial Hearing

ln claim l(o), Livingston claims that he was denied counsel at the hearing on his motion for
a new trial. His only support for this claim is that defense counsel said at the hearing “he Was not
going to stand there and argue the points of the case.” (Docket Entry No. 1, Petition for Writ of
Habeas Corpus, p. 2r). Livingston claims that this was an expression of counsel’s unwillingness to
provide him a defense The record shows no basis for Livingston’s claim that he was unrepresented
at this hearing or with respect to this motion. Defense counsel filed a written motion for new trial,
which adequately laid out the legal and factual bases for the relief sought. (Clerk’s Record,
03CR0084, p. 136). The respondent is entitled to summary judgment on this claim.

Livingston is not entitled to the relief he seeks on any of the claims of ineffective assistance
of counsel.
VI. The Claims of Trial-Court Error

A. The Claim That the Trial Court Prevented Trial Couirrsel from Rendering
Effective Assistance

ln claim 2(b), Livingston alleged that the trial court prevented defense counsel from rendering
effective assistance (Docket Entry No. 1, Petition for Writ of Habeas Corpus, p. 2h). Livingston
quotes one statement taken from the motion for new trial in support. ln the motion, trial counsel
wrote “Defendant had several meritorious defenses but the Defense was prohibited by the trial court
from presenting these defenses and from going into any area of discovery that involved the
possibility of bias and prejudice on behalf of the state witnesses.” (Id.; Clerk’s Record, No.

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03CR0085, p. 90). The trial court’s refusal to entertain certain defenses is distinct from a claim that
the court prevented defense counsel from rendering effective assistance This court has determined
that the state court’s conclusion that trial counsel’s assistance was reasonable is supported by the
record and federal law. The trial court did not prevent defense counsel from rendering effective
assistance

Livingston does not state which defenses were wrongfully prevented from being presented
His claims are conclusory and do not support federal habeas relief Ross v. Estelle, 694 F.2d at 101 1.
The respondent is entitled to summary judgement on this claim.

B. The Claim That the Trial Court Failed to Remain Unbiased

Livingston’s claim 2(c) is intertwined with claim 2(b). ln claim 2(c), Livingston argued that
the trial court was a biased fact-finder. (Docket Entry No. l, Petition for Writ of Habeas Corpus,
p. 2h). The support for this claim is the quote from Livingston’s motion for new trial cited as the
basis for claim 2(b). The claim that the trial court was biased is conclusory, Livingston does not cite
specific instances of bias and the record shows none Because the allegation is conclusory and
unsupported, it provides no basis for federal habeas relief Ross v. Estelle, 694 F.2d at 1012. The
respondent is entitled to summary judgment on this claim.

C. The Claim That the Trial Court Empaneled the Jury in the Face of Media
Coverage

ln claim 2(d), Livingston argues that the trial court wrongfully empaneled the jury in the face
of extensive media coverage (Docket Entry No. 1, Petition for Writ of Habeas Corpus, p. 2i).
According to Livingston, the trial judge presiding over the first trial used an 80-member jury panel
because of extensive media attention. (Id.; Clerk’s Record, 03CR0084, pp. 71-75). The judge

presiding over the retrial used a 45-member panel. (Id. at 107 -l 09). Livingston claims that due to

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the media coverage, the smaller panel resulted in a biased jury, (Docket Entry No. 1, Petition for
Writ of Habeas Corpus, p. 2i).

The record contradicts Livingston’s assertions During jury selection, the trial judge told the
panel that he did not think there would be media coverage about the case, but that they should ignore
anything they saw. (Reporter’s Record, Vol. ll, p. 79). There is no evidence of media attention that
created a problem in seating the jury in the second trial. The respondent is entitled to summary
judgment on this issue

D. The Claim That the Trial Court Wrongfully Consolidated the Indictments

ln claim 2(e), Livingston claimed that the trial court wrongfully consolidated the indictments
without 30 days’ notice, as required by Texas Penal Code § 3.02. Although it is not clear from the
record when Livingston received notice of the State’s intention to consolidate the charges for trial,
it was before the first trial. (Clerk’s Record, No. 08CR0084, p. 89; No. 08CR0085, p. 39; No.
08CR0086, p. 39; No. 08CR0087, p. 39). Livingston’s second trial was several months after the
mistrial. He had more than 30 days’ notice of the consolidation before that trial.

A state prisoner seeking federal court review of a conviction under 28 U.S.C. § 2254 must
assert a violation of a federal constitutional right. Lawrence v. Lensz`ng, 421F.3d 255, 258 (5th Cir.
1994). Federal habeas corpus relief will not issue to correct errors of state constitutional,
evidentiary, statutory, or procedural law, unless a federal issue is also presented Estelle v. McGuire,
502 U.S. 62, 67-68 (1991). The question before a federal habeas court is not whether the state court
correctly applied its own interpretation of state law; rather, the question is whether the petitioner’s
federal constitutional rights were violated Neyland v. Blackburn, 785 F.2d 1283, 1293 (5th Cir.),

cert. denied, 479 U.S. 930 (1986). Even if there had been a failure to receive 30 days’ notice of

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consolidation, as required by Texas law, that does not implicate a federal constitutional right. The
respondent is entitled to summary judgment on this claim.

E. The Claim That the Trial Court did not Conduct a Competency Hearing

Only a competent defendant may stand trial or plead guilty. See Godinez v. Moran, 509 U.S.
389 (1993); Pate v. Robinson, 383 U.S. 375 (1966). The federal standard for competence is that the
defendant have “sufficient present ability to consult with his lawyer with a reasonable degree of
rational understanding” and “a rational as well as factual understanding of the proceedings against
him.” Dusky v. United States, 362 U.S. 402 (1960). Livingston does not raise a substantive claim
that he was incompetent to proceed to trial. Nor does he assert that the trial court wrongfully refused
to have such a hearing Rather, in claim 2F, Livingston asserts that the trial court should have on
its own required a competency hearing (Docket Entry No. l, Petition for Writ of Habeas Corpus,
p- Zq)-

“Where the evidence raises a ‘bona fide doubt’ as to a defendant’S competence to stand trial,
the judge on his own motion must impanel a jury and conduct a sanity hearing.” Pate, 383 U.S. at
385. “ln determining whether a competency hearing is required, a trial court should give particular
consideration to (l) the existence of a history of irrational behavior; (2) the defendant’s bearing and
demeanor at the time of trial; and (3) prior medical opinions.” Enriquez v. Pmcum'er, 752 F.2d l l 1.

During the pendency of the case against him, Livingston underwent a psychiatric
examination The examiner concluded that Livingston was free from any mental problems or disease
that would prevent him from assisting in his own defense (Ex parte Livingston, Application No.
69,601-01 at 86). There was no indication on the record of any behavior or demeanor at the time of
trial that should have alerted the trial court to any concerns about competency. lt was reasonable not
to pursue the issue of competency.

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Livingston argues that in September, 1991, a court appointed Livingston’s wife as his
guardian (Docket Entry No. 1, Petition for Writ of Habeas Corpus, Ex. A, pp. 6-17). That order
had expired long before Livingston was tried. There was no indication of any basis to find him
incompetent at that time The respondent is entitled to summary judgment on this claim.

F. The Claim That the Trial Court Judge did not Take an ()ath of Office

ln claim 2(g), Livingston asserted that he was harmed when a visiting judge presided over
his trial without first taking an oath of office (Docket Entry No. 1, Petition for Writ of Habeas
Corpus, p. 2k). ln support, Livingston provided a letter from the Texas Secretary of State, stating
that his office had oath-of-office filings for that visiting judge frorn 1981, 1985, 1989, and 1992 and
a Statement of Elected/Appointed Officer filings for that judge from 2004, 20'05, and 2006. (Docket
Entry No. l, Petition for Writ of Habeas Corpus, Ex. A, p. 5). Under Texa:s law, “[a] person who
is a retired or former judge shall, before accepting an assignment as a visiting judge of a statutory
county court, take the oath of office required by the constitution and file the oath with the regional
presiding judge” TEX. GOV’T CODE § 25.0017(a) (West 2004). The letter from the Secretary of
State is not proof that the trial judge did not take an oath of office before Livingston’s trial. And
even if the judge did not take an oath of office immediately prior to Livingston’s trial, “the statute
does not specify that [ajudge] must renew [his] oath before every assignment.” Ebert v. State, 2007
WL 2141557, *5 (Tex. App.-Austin, July 27 , 2007).

A state prisoner seeking federal court relief from a conviction under 28 U.S.C. § 2254 must
assert a violation of a federal constitutional right. Lawrence v. Lensz`ng, 42 F.3d at 258. Federal
habeas corpus relief will not issue to correct errors of state constitutional, evidentiary, statutory, or
procedural law, unless a federal issue is also presented Estelle v. McGuire, 502 U.S. at 67 -68. Even

if there was a failure to renew the oath of office under state law, that does not implicate a federal

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constitutional ri ght. Livingston has not shown that the judge failed to take the oath of office or any
federal constitutional violation The respondent is entitled to summary judgment on this claim.

G. The Claim that the Trial Court Improperly Retried Livingston

ln claim 2(h), Livingston argues that his retrial after a hung jury constituted double jeopardy,
in violation of the Constitution. (Docket Entry No. 1, Petition for Writ of Habeas Corpus, p. 21).
“lt has been established . . . since the opinion of Justice Story in United States v. Perez, 9 Wheat.
579, 6 L. Ed. 165 (1824), that a failure of the jury to agree on a verdict was an instance of ‘manifest
necessity’ which permitted a trial judge to terminate the first trial and retry the defendant.” U.S. v.
Mauskar, 557 F.3d 219, 228 (5th Cir. 2009) (citing Rz`chardson v. U.S., 468 U.S. 317, 323-34
(1984)). A retrial following a hung jury does not violate the Double Jeopardy Clause. Id.

Livingston also argues that the second trial was biased and unfair because the State pursued
only four of the six counts charged in the first case (Docket Entry No. 1, Petition for Writ of Habeas
Corpus, p. 21). He provides no basis to find that this was either error or a source of prejudice

Livingston also argues that the second trial, which began 84 days after the mistrial was
declared, violated 18 U.S.C.A § 3161(e), which states that a new trial “shall commence within
seventy days from the date the action occasioning the retrial becomes final.” (Docket Entry No. l,
Petition for Writ of Habeas Corpus, p. 21). This is a federal statute applicable to federal
prosecutions, not to Livingston’s state case Livingston’ s retrial did not violate federal constitutional
guarantees The respondent is entitled to summary judgment on this claim.
VII. The Claim That Appellate Counsel Failed to Move to Strike the State’s Brief

A criminal defendant has a constitutional right to effective assistance of counsel on direct
appeal. U.S. CONST. AMEND. Vl, XlV; Evitts v. Lucey, 469 U.S. 387, 393-95 (1985); Strickland v.

Washington, 466 U.S. at 688; Anders v. Calz`fornia, 386 U.S. 738, 744 (1967). An ineffective

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assistance claim at the appellate level is governed by the Strickland standard With respect to the
deficiency prong, “[o]n appeal, effective assistance of counsel does not mean counsel who will raise
every nonfrivolous ground of appeal available.” Green v. Johnson, 160 F.3d 1029, 1043 (5th Cir.
1998), cert. denied, 525 U.S. 1174 (1999). Counsel is obligated to raise and brief those issues
believed to have the best chance of success See Schaetzle v. Cockrell, 343 F.3d 440, 445 (5th Cir.
2003), cert. denied, 540 U.S. 1154 (2004); United States v. Williamson, 183 F.3d 458, 462-63 (5th
Cir. 1999). To show ineffective assistance of appellate counsel, a petitioner must show that the
decision not to raise an issue on appeal fell below an objective standard of reasonableness United
States v. Phillz'ps, 210 F.3d 345, 348 (5th Cir. 2000) (citing Strickland, 104 S. Ct. at 2064). This
reasonableness standard requires counsel “to research relevant facts and law, or make an informed
decision that certain avenues will not prove fruitful.” Id. (quoting Williamson, 183 F.3d at 462-63).

ln claim 3, Livingston argues that he was denied effective counsel on appeal by the failure
to file a motion to strike the State’s late-filed appellate brief (Docket EntryNo. 1, Petition for Writ
of Habeas Corpus, p. 2g). According to Livingston, the State’s appellate brief was filed nearly two
months late (Id.) Appellate counsel’s affidavit asserts that the State"s appellate brief was
considered timely filed by the appellate court. The state habeas court accepted this affidavit as true
Ex parte Livingston, Application No. 69,601-01 at page after cover, 84, 107). lf the State’ s brief Was
in fact timely filed, then it was not unreasonable for appellate counsel to fail to obj ect. Even if the
brief was late, it was not unreasonable for appellate counsel to cooperate with opposing counsel by
allowing a late filing

Even assuming that State’s brief was filed late, counsel’s failure to object did not result in
prejudice The Court of Appeals held that there was no error sufficient to overturn Livingston’s

conviction Livingston v. State, Nos. 01-04-00955-CR, 01-04-00956-CR, 01-04-00957-CR, and

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01-04-00958-CR (Tex. App.-Houston [lst Dist.] 2006, pet. ref’d). Even if appellate counsel had
filed a motion to strike, there is no basis to find that Livingston’s appeal presented reversible error.
Livingston has not demonstrated that he was denied ineffective assistance of appellate counsel. The
respondent is entitled to summary judgment on this claim.
VIII. The Claim That the Appellate Court Wrongfully Allowed the State to File its Brief Late

ln claim 4, Livingston claims that the appellate court denied him due process When it allowed
the State to filed its brief late (Docket Entry No. 1, Petition for Writ of Habeas Corpus, p. 2g). The
state habeas court found that the brief was timely filed, and this court must defer to that finding
However, even if the brief was filed late, it was not a due process violation As noted, federal habeas
corpus relief will not issue to correct errors of state law unless a federal violation is also present.
Estelle, 502 U.S. at 67-68. The state appellate court considered Livingston’s claims on the merits
and determined that there was no basis to reverse his conviction Accepting a late-filed brief did not
give rise to a federal due process claim. The respondent is entitled to summary judgment
IX. The Claims of Prosecutorial Misconduct

A. The Claim That the Prosecution Presented False Testimony and Evidence

ln claim 5(a), Livingston argues that the prosecution presented false testimony “while the
judge’s back Was turned” (Docket Entry No. 1, Petition for Writ of Habeas Corpus, pp. 2n-2o).
Livingston claims that during the direct examination of Parsons, the prosecutor fumbled through her
exhibits while trying to locate a copy of the first picture found on Livingston’s computer. (Id.)
Livingston claims that while the prosecutor was looking for the picture, she surreptitiously tried to
show the jury pictures of the subsequently conducted vaginal exam of C.T., to make the jury think
that those pictures were on Livingston’s computer. ([d.) Livingston claims that his attorney was
trying to distract him by whispering questions and that the j udge’s chair was turned around so that

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he could not see the parties or the jury. (Id.) Livingston asserts that his own lawyer was trying to
prevent him from noticing the photos and to prevent him from hearing Parsons’ false testimony
about the photograph of a naked child standing in a river, which Parsons described as showing a
“spread-eagle” pose (Id.) According to Livingston, the j ury’s sight of the pictures prejudiced them
beyond repair. (Ia'.) Livingston states that when the prosecutor showed the jury the pictures, he
stood up from his wheelchair and shouted, “[t]hat’s not on the computer, that’s PERJURY.” (Id.)

“A state denies a criminal defendant due process when it knowingly uses perjured testimony
at trial or allows untrue testimony to go uncorrected.” Pyles v. Johnson, 136 F.3d 986, 996 (5th
Cir.), cert. denied, 524 U.S. 933 (1998). To obtain a reversal based on aprosecutor’s use of pte ured
testimony or failure to correct such testimony, a habeas petitioner must demonstrate that: (l) the
testimony was actually false; (2) the State knew it was false; and (3) the testimony was material. See
id.

Parsons testified that the photograph she found on Livingston’ s computer showed an “eight
or nine-year-old girl standing spread eagle like this in a river bed.” (Reporter’s Record, Vol. lll, p.
39). The photograph shows a naked girl standing in water with her legs together and arms by her
side (Reporter’s Record, Volume Vll, State’s Exhibit 3). The description of the photograph as
depicting a “spread eagle” pose is the testimony Livingston claims was false (Docket Entry No. l,
Petition for Writ of Habeas Corpus, p. 2n). Even assuming that it was false to characterize the
picture in such a way, and the State knew it was false when Parsons said it, Livingston is not entitled
to relief on this claim.

First, Parsons was immediately questioned by defense counsel about whether the picture in
fact showed such any such pose and whether the photograph was sexually provocative (Reporter’s
Record, Vol. lll, pp. 39-40). The photograph was later entered into evidence Testimony was

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elicited from Chief Shelley that the child was not in a “spread eagle” pose in the photograph (Id.
at 52, 59). Because Parsons was adequately cross-examined the photograph was shown to the jury,
and contrary testimony was presented, the challenged testimony was not material or prejudicial.

Livingston also claims that the State presented false evidence by showing photographs of the
vaginal exam while pretending to look for the photograph found on Livingston’s computer. The
testimony of Parsons, Chief Shelley, and C.T. is about which photographs were recovered from
Livingston’s computer. No witness stated that the photographs of the vaginal exam were found on
the computer. (Ia’. at 39-40, 52, 59, 97). The photographs of the exam were entered into evidence
during Dr. Lukefahr’s testimony. He clearly stated that the photographs were taken as part of a
physical exam. (Reporter’s Record, Vol. IV, p. 10). There is no evidence to support Livingston’s
claim of a deliberate effort by the prosecutor and defense counsel to show the jury other pictures and
make the jury think those were on Livingston’s computer. Any inadvertent disclosure of the
photographs earlier in the trial was harmless Livingston is not entitled to relief on this claim. The
respondent is entitled to summary judgment

B. The Claim That the Prosecution Failed to Disclose a Psychiatric Report
Evidencing the Petitioner’s Incompetence

ln claim 5(b), Livingston argued that the prosecutors wrongfully suppressed the psychiatric
report created in conjunction with his previous guardianship case (Docket Entry No. 1, Petition for
Writ of Habeas Corpus, p. 2p-2q). A prosecutor must disclose evidence favorable to an accused
under Brady v. Maryland, 373 U.S. 83 (1963). To show a Brady violation, “a defendant must show
that (1) evidence was suppressed; (2) the suppressed evidence was favorable to the defense; and (3)

the suppressed evidence was material to either guilt or punishment.” United Stales v. Miller, 520

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F.3d 504, 514 (5th Cir. 2008). The evidence cited was well known to Livingston. The record shows
no Brady violation The respondent is entitled to summary judgment on this claim.

C. The Claim That the Prosecution Suppressed Exculpatory Evidence

ln claim 5(c), Livingston argued that the State suppressed exculpatory evidence by redacting
C.T.’s CPS records (Docket Entry No. 1, Petition for Writ ofHabeas Corpus, p. 2p). As discussed
in section V(J) above, Livingston claimed that the redacted information would have made C.T. seem
less credible had it been presented to the jury. (Id.) The state court found that this redaction was
done to comply with Texas law. (Ex parte Livingston, Application No. 69,601-01 at page after
cover, 86, 107). Livingston has not presented contravening evidence

Even if Texas law did not require the redaction, Livingston had not made a viable Brady
claim. Livingston was aware of the information and failed to show how he was prejudiced The
respondent is entitled to summary judgment on this claim.

D. The Claim That the Prosecution Improperly Investigated the Crimes

ln claim 5(d), Livingston argued that he was denied due process because the State’s
investigation “had a blind focus which ignored leads to evidence inconsistent with the premature
conclusion that Petitioner had committed the crime” (Docket Entry No. 1, Petition for Writ of
Habeas Corpus, p. 2r-2s). Livingston argues that C.T. was not immediately examined after leaving
the boat. (Id.)

To establish a due process violation from the government’s failure to preserve evidence, “a
defendant must show that (1) government officials acted in bad faith; (2) the evidence is material in
showing the defendant’s innocence; and (3) there is no alternative means of demonstrating the
defendant’s innocence” United States v. Thompson, 130 F.3d 676, 686 (5th Cir. 1997) (citing

Arizona v. Youngblood, 488 U.S. 51, 56 (1988)). Livingston has not shown any bad faith on the part

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of the government He cannot make a claim for prosecutorial misconduct on this basis The
respondent is entitled to summary judgment on this claim.

X. The Claim That the Conviction was Obtained by Evidence That Should Have Been
Excluded

Livingston asserts that the evidence taken from his boat, tattoo parlor, and laptop computer
was seized in violation of the Fourth Amendment. (Docket Entry No. 1, Petition for Writ of Habeas
Corpus, p. 2d-2f). Livingston is precluded from relitigating his Fourth Amendment claim in this
federal habeas proceeding because the State provided him an opportunity for full and fail litigation
of the claim in state court. When such an opportunity is provided, a state prisoner may not secure
federal habeas corpus relief on the ground that evidence obtained in an unconstitutional search or
seizure was introduced at trial. Stone v. Powell, 428 U.S. 465, 494, 96 S. Ct. 3037, 49 L. Ed. 2d
1067 (1976). The Fifth Circuit has interpreted an “opportunity for full and fair litigation” to mean
just that: “an opportunity.” Janecka v. Cockrell, 301 F.3d 316, 320 (5th Cir. 2002) (quoting Caver
v. Alabama, 577 F.2d 1188, 1192 (5th Cir. 1978)). “lf a state provides the processes whereby a
defendant can obtain full and fair litigation of a fourth amendment claim, Stone v. Powell bars
federal habeas corpus consideration of that claim whether or not the defendant employs those
processes.” Caver, 577 F.2d at 1192.

Under Stone, search and seizure claims cannot be a basis for federal habeas relief unless the
petitioner presents sufficient “allegations that the processes provided by the state to fully and fairly
litigate Fourth Amendment claims are routinely or systematically applied in such a way as to prevent
the actual litigation of Fourth Amendment claims on their merits.” Williams v. Brown, 609 F.2d 216,
220 (5th Cir. 1980). lf the state court record reflects that the petitioner’s opportunity to challenge

the introduction of evidence was “not circumscribed,” a federal habeas court will not “scrutinize a

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state court’s application of fourth amendment principles.” Billz`ot v. Maggio, 694 F.2d 98, 100 (5th
Cir. 1982).

Under Texas law, Livingston had a full opportunity to litigate his Fourth Amendment claims
through pretrial and trial motions to suppress evidence TEX. CODE CRIM. PROC. art. 28.01 § 1(6).
See also Selfv. Collins, 973 F.2d l 198, 1208 (5th Cir. 1992). The respondent is entitled to summary
judgment on this claim.

XI. The Claim That Livingston’s Right to Confront Witnesses Was `Violated

ln claim 7, Livingston argued that his right to confront the witnesses against him was violated
by Rhonda Turner’s absence from the trial. (Docket Entry No. l, Petition for Writ of Habeas
Corpus, p. 2c). The Sixth Amendment guarantees a criminal defendant’s right to confront the
witnesses against him through cross-examination Davz's v. Alaska, 415 U.S. 308, 316-17 (1974).
This guarantee requires the exclusion of out-of-court statements of nontestifying declarants
Crawford v. Washington, 541 U.S. 36, 54-56 (2004). Rhonda Turner was not called as a government
witness No out-of-court statements attributable to Rhonda Turner were presented to the jury,
Livingston’s Sixth Amendment right to confrontation was not implicated The respondent is entitled
to summary judgment on this claim.

XII. Conclusion

The respondent’s Motion for Summary Judgment, (Docket Entry No. 12), is granted
Livingston’s petition for writ of habeas corpus is denied, and those claims are dismissed

Under AEDPA, a petitioner must obtain a certificate of appealability before he can appeal
the district court’s decision 28 U.S.C. § 2253(c)(1). A court grants a COA only if the petitioner
makes “a substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). ln
order to make a substantial showing, a petitioner must demonstrate that “reasonable jurists would

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find the district court’s assessment of the constitutional claims debatable or wrong.” Slack v.
McDaniel, 529 U.S. 473, 484 (2000). When the district court has denied a claim on procedural
grounds, however, the petitioner must also demonstrate that “jurists of reason would find it debatable
whether the district court was correct in its procedural ruling.” Id. As the Supreme Court made clear
in Miller-El v. Cockrell, 537 U.S. 322 (2003), a COA is “a jurisdictional prerequisite.” ln
considering a request for a COA, “[t]he question is debatability of the underlying constitutional
claim, not the resolution of that debate.” Id. at 1042. Because Livingston has not made the
necessary showing, this court will not issue a COA.

SIGNED on May 26, 2009, at Houston, Texas.

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Lee H. Rosenthal
United States District Judge

 

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